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   5
   6   Attorneys for Defendants
       County of Los Angeles and Sheriff Alex Villanueva
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   8
   9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12    NASSER BAKER,                   )           Case No. 2:21-cv-03742-CAS-MAR
                                        )
  13                 Plaintiff,         )           Honorable Christina A. Snyder
                                        )
  14          vs.                       )
                                        )           JOINT NOTICE OF
  15    COUNTY OF LOS ANGELES,          )           SETTLEMENT
        SHERIFF ALEX VILLANUEVA, an )
  16    individual, JOHN DOE No. 1, and )
        DOES 2-20 inclusive,            )           Complaint filed: May 3, 2021
  17                                    )
                     Defendants.        )
  18                                    )
  19
  20
  21         TO THE HONORABLE COURT, ALL PARTIES, AND TO THEIR
  22   ATTORNEYS OF RECORD:
  23         PLEASE TAKE NOTICE that Plaintiff Nasser Baker (“Plaintiff”) and
  24   Defendants County of Los Angeles and Sheriff Alex Villanueva (collectively,
  25   “Defendants”), by and through their respective attorneys of record, have reached
  26   a settlement in the above-titled case as to Plaintiff’s claims against all Defendants.
  27   Specifically, the aforementioned parties agreed, pursuant to Federal Rules of
  28   Civil Procedure, Rule 41(a), that, in exchange for a sum certain, Plaintiff Nasser

                                           1
                              JOINT NOTICE OF SETTLEMENT
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   1   Baker will dismiss with prejudice all claims alleged against all parties, named and
   2   unnamed, including but not limited to doe defendants, each side to bear their
   3   respective attorneys’ fees and costs.
   4         The parties expect to file a Stipulation for Dismissal with Prejudice;
   5   [Proposed] Order Thereon with the Court once the aforementioned settlement is
   6   approved by the Claims Board of the County of Los Angeles.
   7
   8   Dated: May 20, 2022                     LAWRENCE BEACH ALLEN & CHOI, PC
   9
  10                                           By           /s/ Paul B. Beach                _
  11                                                  Paul B. Beach1
                                                      Hrach E. Agazaryan
  12
                                                      Attorneys for Defendants
  13                                                  County of Los Angeles and
  14                                                  Sheriff Alex Villanueva

  15
       Dated: May 20, 2022               TONI JARAMILLA, A Professional Law Corp.;
  16
                                         ALEXANDER, MORRISON + FEHR LLP
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  18
                                               By           /s/ Toni J. Jaramilla
  19                                                  Toni J. Jaramilla
  20                                                  TONI JARAMILLA, A Professional
                                                      Law Corp.
  21
  22                                                  J. Bernard Alexander, III
  23                                                  ALEXANDER, MORRISON + FEHR
                                                      LLP
  24
  25                                                  Attorneys for Plaintiff
                                                      Nasser Baker
  26
  27
       1
  28    As the filer of this Joint Notice, I, Paul B. Beach, attest that Toni J. Jaramilla
       concurs in the contents of the Joint Notice and has authorized its filing.
                                                   2
                               JOINT NOTICE OF SETTLEMENT
